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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA


EVAN MILLIGAN, et al.,

                            Plaintiffs,
                                                    Civil Case No. 2:21-CV-01530-AMM
       v.

JOHN H. MERRILL, et al.,

                           Defendants.


            PLAINTIFFS’ THIRD EVIDENTIARY SUBMISSION

      In further support of their motion for a preliminary injunction and following

the production of Exhibits 1 to 5 in Plaintiffs’ First Evidentiary Submission (Doc.

68) and Exhibits 6 to 14 in Plaintiffs’ Second Evidentiary Submission (Doc. 70),

Plaintiffs hereby submit the following additional Exhibits as set out below:

   • Exhibit 15 – Rebuttal Expert Report of Baodong Liu, Ph.D.

   • Exhibit 16 – Supplemental Declaration of Joseph Bagley Ph.D.

   • Exhibit 17 – Rebuttal Expert Report of Kosuke Imai, Ph.D.

   • Exhibit 18 – Rebuttal Expert Report of Moon Duchin, Ph.D.
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DATED this 21st day of December 2021.   Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I hereby certify that on December 21, 2021, a true and correct copy of the

foregoing was served on all counsel of record by electronic mail.

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